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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA,

               Plaintiff,
                                                                19-CV-5748 (ENV)
          v.

 Deed No. 8186; Calle Enrique Gomez Carrillo
 5313, Lote 4A, Mza 157, Fraccionamiento
 Vallerta Universidad, Zapopan, Jalisco, Mexico

                 Defendant In Rem.

 – – – – – – – – – – – – – – –X

                            DECLARATION OF PUBLICATION

         According to my review of the electronic database maintained by the Department of
 Justice, the attached notice of forfeiture was posted on an official government internet site
 (www.forfeiture.gov) for at least 30 consecutive days, beginning on December 3, 2021 and
 ending on January 1st, 2022 as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for
 Certain Admiralty and Maritime Claims and Asset Forfeiture Actions, and evidenced by
 Attachment 1.

        I declare under penalty of perjury that the foregoing is true and correct. Executed
 on January 3, 2022.


                                                    Samuel Williams
                                                    Samuel Williams
                                                    WITS Records Examiner
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                                  Advertisement Certification Report


 The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
 between December 3, 2021 and January 01, 2022. Below is a summary report that identifies the uptime
 for each day within the publication period and reports the results of the web monitoring system’s daily
 check that verifies that the advertisement was available each day.

 U.S. v. Deed No. 8186; Calle Enrique Gomez Carrillo 5313,

 Court Case No:              CV-19-5748
 For Asset ID(s):            See Attached Advertisement Copy

    Consecutive          Date Advertisement         Total Hours Web Site             Verification that
    Calendar Day          Appeared on the           was Available during              Advertisement
        Count                 Web Site                  Calendar Day                existed on Web Site
          1                   12/03/2021                      23.9                          Verified
          2                   12/04/2021                      23.8                          Verified
          3                   12/05/2021                      23.9                          Verified
          4                   12/06/2021                      24.0                          Verified
          5                   12/07/2021                      23.9                          Verified
          6                   12/08/2021                      23.9                          Verified
          7                   12/09/2021                      23.9                          Verified
          8                   12/10/2021                      23.9                          Verified
          9                   12/11/2021                      23.9                          Verified
         10                   12/12/2021                      23.8                          Verified
         11                   12/13/2021                      23.9                          Verified
         12                   12/14/2021                      23.9                          Verified
         13                   12/15/2021                      23.9                          Verified
         14                   12/16/2021                      23.9                          Verified
         15                   12/17/2021                      23.9                          Verified
         16                   12/18/2021                      23.9                          Verified
         17                   12/19/2021                      23.9                          Verified
         18                   12/20/2021                      23.9                          Verified
         19                   12/21/2021                      23.8                          Verified
         20                   12/22/2021                      23.9                          Verified
         21                   12/23/2021                      23.9                          Verified
         22                   12/24/2021                      23.9                          Verified
         23                   12/25/2021                      23.9                          Verified
         24                   12/26/2021                      23.9                          Verified
         25                   12/27/2021                      23.9                          Verified
         26                   12/28/2021                      23.9                          Verified
         27                   12/29/2021                      23.9                          Verified
         28                   12/30/2021                      23.9                          Verified
         29                   12/31/2021                      23.9                          Verified
         30                   01/01/2022                      23.9                          Verified
 Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
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 Attachment 1

                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NEW YORK
          COURT CASE NUMBER: CV-19-5748; NOTICE OF FORFEITURE ACTION

      Pursuant to 21 U.S.C. § 881 and 18 U.S.C. § 981, the United States filed a verified
 Complaint for Forfeiture against the following property:

        All right, title, and interest in the real property and premises known as Deed No.
        8186; Calle Enrique Gomez Carrillo 5314, Lote 4A, Mza 157, Fraccionamiento
        Vallarta Universidad, Zapopan, Jalisco, Mexico; Clave Catastral:
        12014H114700050000, held in the name of Roxana Elizabeth Caro Elenes.
        (20-DEA-657063)

 Any person claiming a legal interest in the Defendant Property must file a verified Claim
 with the court within 60 days from the first day of publication (December 03, 2021) of this
 Notice on this official government internet web site and an Answer to the complaint or
 motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days thereafter.
 18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone asserting an interest
 in property which the court determines was frivolous.

 The verified Claim and Answer must be filed with the Clerk of the Court, 225 Cadman
 Plaza East, Brooklyn, NY 11201, and copies of each served upon Assistant United States
 Attorney Brendan King, 271 Cadman Plaza East, 7th Floor, Brooklyn, NY 11201, or
 default and forfeiture will be ordered. See, 18 U.S.C. § 983(a)(4)(A) and Rule G(5) of the
 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions.

 The government may also consider granting petitions for remission or mitigation, which
 pardon all or part of the property from the forfeiture. A petition must include a description
 of your interest in the property supported by documentation; include any facts you believe
 justify the return of the property; and be signed under oath, subject to the penalty of
 perjury, or meet the requirements of an unsworn statement under penalty of perjury. See
 28 U.S.C. Section 1746. For the regulations pertaining to remission or mitigation of the
 forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of the forfeiture are
 found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the forfeiture are found at
 28 C.F.R. Section 9.5(b). The petition need not be made in any particular form and may
 be filed online or in writing. You should file a petition not later than 11:59 PM EST 30 days
 after the date of final publication of this notice. See 28 C.F.R. Section 9.3(a). The
 https://www.forfeiture.gov/FilingPetition.htm website provides access to a standard petition
 form that may be mailed and the link to file a petition online. If you cannot find the desired
 assets online, you must file your petition in writing by sending it to Assistant United States
 Attorney Brendan King, 271 Cadman Plaza East, 7th Floor, Brooklyn, NY 11201. This
 website provides answers to frequently asked questions (FAQs) about filing a petition.
 You may file both a verified claim with the court and a petition for remission or mitigation.
